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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 X CORP., a Nevada corporation,
                Plaintiff,
        vs.
 MEDIA MATTERS FOR AMERICA, a                       Case No. 4:23-cv-01175-O
 Washington, D.C. non-profit corporation,
 ERIC HANANOKI, and ANGELO
 CARUSONE,
                Defendants.



                     MOTION TO COMPEL PRODUCTION OF
              DOCUMENTS WITHHELD UNDER TEXAS PRESS SHIELD LAW

       Plaintiff X Corp. (“X”) brings this motion to compel the production of documents withheld

on the basis of the Texas Press Shield Law, Tex. Civ. Prac. & Rem. Code §§22.021-.027, by

Defendants Media Matters for America, Eric Hananoki, and Angelo Carusone. For the reasons

stated in the accompanying brief in support, X requests that the Court issue an order overruling

any privilege objection asserted by Defendants on the basis of the Texas Press Shield Law, and

requiring Defendants to promptly provide responsive documents withheld based on an assertion

of privilege under the Texas Press Shield Law. Alternatively, X requests that the Court order

Defendants to promptly produce any documents withheld thereunder to the Court for an in camera

review to determine the applicability of Defendants’ assertions of privilege under the Texas Press

Shield Law.
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Dated: September 24, 2024                Respectfully submitted,
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                              CERTIFICATE OF CONFERENCE
       I certify that the parties have conferred on multiple occasions, including on July 29, 2024,

and August 2, 2024, regarding the issues raised in this motion to compel. Notwithstanding those

conferrals, including Plaintiff’s provision of its brief in support of this motion to Defendants prior

to this filing, there remain intractable grounds of disagreement necessitating this motion.

                                               /s/ Christopher D. Hilton
                                              Christopher D. Hilton

                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 24, 2024, a copy of this document was served on all

counsel of record through the Court’s CM/ECF system in accordance with the Federal Rules of

Civil Procedure.

                                               /s/ Christopher D. Hilton
                                               Christopher D. Hilton




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